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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF NEW JERSEY


  In re:                                             Hon. Michael B. Kaplan

  PRINCETON ALTERNATIVE INCOME                       Case No.: 18-14603 (MBK)
  FUND, LP, et al.,                                  (Jointly Administered)
                      Debtors.
                                                     Chapter 11


                             WITHDRAWAL OF APPEARANCE

           PLEASE TAKE NOTICE that George R. Hirsch, Esq. hereby withdraws his appearance

 on behalf of the Debtors and Debtors-in-Possession in the referenced bankruptcy cases for all

 purposes.


  Dated: November 12, 2018                        SILLS CUMMIS & GROSS, P.C.

                                                  By: /s/ George R. Hirsch
                                                          George R. Hirsch
